                    Case 1:25-cv-00415-ACR               Document 7      Filed 02/12/25        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                     District
                                               __________     of Columbia
                                                           District of __________


                   Robert P. Storch, et al.                     )
                             Plaintiff                          )
                                v.                              )      Case No. 1:25-cv-00415 (ACR)
                     Pete Hegseth, et al.                       )
                            Defendant                           )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Robert P. Storch, et al.                                                                            .


Date:          02/12/2025                                                               /s/ Seth P. Waxman
                                                                                         Attorney’s signature


                                                                              Seth P. Waxman, D.C. Bar No. 257337
                                                                                     Printed name and bar number
                                                                            Wilmer Cutler Pickering Hale and Dorr LLP
                                                                                2100 Pennsylvania Avenue N.W.
                                                                                    Washington, D.C. 20037

                                                                                               Address

                                                                                  seth.waxman@wilmerhale.com
                                                                                            E-mail address

                                                                                          (202) 663-6800
                                                                                          Telephone number

                                                                                          (202) 663-6363
                                                                                             FAX number
